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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

SALVATORE DIGANCI, an individual and              SECOND AMENDED COMPLAINT
ROES I-X
                                               Civil No. 2:23-cv-00611-TS
Plaintiffs,
                                               Judge Ted Stewart
vs.
                                               Jury Trial Requested
USA RAIL LOGISTICS LLC,          a
corporation, UNITED   SPECIALTY
AUTOMOTIVE LLC, a corporation, and
ROES I-X.

Defendants.


      SALVATORE DIGANCI (hereinafter “Mr. Diganci”), by and through his attorney

JARED M. ALLEBEST of the Allebest Law Group PLLC, hereby submit the following:

                            PRELIMINARY STATEMENT

      1. Mr. Diganci, the Plaintiff, is an individual who is Deaf, and is bilingual in

English and American Sign Language (ASL). He does not use hearing aids, cochlear

implants, or other similar personal amplification devices. On one or more occasions, the

Defendant(s) discriminated against the Plaintiff by refusing to hire him by reason of his

disability of being Deaf and for refusing to provide him with effective communication

when he made a written request for an ASL interpreter to attend a job interview with the

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Defendant(s).

      2. Mr. Diganci is a qualified individual who, with or without reasonable

accommodation, can perform the essential functions of the employment position that

such an individual holds or desires. 42 U.S.C. § 12111(8).

      3. USA Rail Logistics LLC is a covered entity who is an employer that is engaged

in an industry affecting commerce who has fifteen (15) or more employees for each

working day in each of twenty (20) or more calendar weeks in the current or preceding

calendar year, 42 U.S.C. § 12111 (5)(A).

      4. United Specialty Automotive LLC is a covered entity who is an employer that is

engaged in an industry affecting commerce who has fifteen (15) or more employees for

each working day in each of twenty (20) or more calendar weeks in the current or

preceding calendar year, 42 U.S.C. § 12111 (5)(A).

      5. A covered entity shall not discriminate against a qualified individual on the

basis of disability in regard to job application procedures, the hiring, advancement, or

discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment. 42 U.S.C. § 12112 (a) “Discrimination”

      6. As a result, a covered entity cannot refuse “reasonable accommodations to the

known physical or mental limitations of an otherwise qualified individual with a disability

who is an applicant or employee, unless such covered entity can demonstrate that the

accommodation would impose an undue hardship on the operation of the business of

such covered entity.” 42 U.S.C. § 12112 (5)(A). It also means that a denial of

“employment opportunities to a job applicant or employee who is an otherwise qualified

individual with a disability, if such denial is based on the need of such covered entity to

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make reasonable accommodation to the physical or mental impairments of the

employee or applicant” may also be a basis for discrimination. 42 U.S.C. § 12112 (5)(B).

            7. The ADA recognizes that ASL interpreters are auxiliary aids and services that

a covered entity must provide to their employees when requested or offered to the

employee. The term "auxiliary aids and services" means “qualified interpreters or other

effective methods of making aurally delivered materials available to individuals with

hearing impairments; qualified readers, taped texts, or other effective methods of

making visually delivered materials available to individuals with visual impairments;

acquisition or modification of equipment or devices; and other similar services and

actions.” 42 U.S.C. § 12103(1)(A-D).

            8. Although ASL interpreters are not defined under Title I of the ADA, they are

defined under Title II and III. A qualified interpreter means an “interpreter who, via a

video remote interpreting (VRI) service or an on-site appearance, is able to interpret

effectively, accurately, and impartially, both receptively and expressively, using any

necessary specialized vocabulary. Qualified interpreters include, for example, sign

language interpreters, oral transliterators, and cued-language transliterators.” 1

            9. Although there is no prohibition on requiring an individual with a disability to

bring another individual or minor child to interpret for that person under Title I of the

ADA, it is forbidden under Title II and III. 2

            10. It is important to point out that the ADA does not require the ASL interpreter

to be licensed and certified. It just requires them to be "qualified." Utah has recently

1
    28 C.F.R. § 35.104 (Title II), 28 C.F.R. § 36.104 (Title III).
2
    28 C.F.R. § 35.160(c)(1-3) (Title II), 28 C.F.R. § 36.303(2-4) (Title III).

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passed a law requiring that qualified ASL interpreters must also be licensed and

certified. Utah recently passed HB371 which amended Title 53A, Chapter 26a to now

require interpreters to obtain state certification as American Sign Language-trained

interpreters and that anyone who interprets in the state of Utah without being certified is

charged with a Class B Misdemeanor.

         11. As a result of the passage of HB371, Utah Administrative Code Rule R746-

510-2, defines a "Certified Interpreter" to mean a "person who is certified as meeting the

certification requirements" of the "Interpreter Services for the Hearing Impaired Act."

         12. The Plaintiff was discriminated by reason of his disability of being Deaf and

suffered adverse employment actions by not being hired for the job he applied for on the

basis of unfounded fears or generalizations about individuals who are Deaf. An

employer cannot refuse to hire a person with a disability because of a slightly increased

risk or because of fears that there might be a significant risk sometime in the future. The

determination must be individualized to the disabled applicant and not generalized to

the disability that the potential employee has. 3

         13. Studies show that it is hard for Deaf people to find employment. “The

employment gap between deaf and hearing people in the United States is a significant

area of concern. In 2014, only 48% of deaf people were employed, compared to 72% of

hearing people. Among people in the labor force, deaf people were as likely to work full

time as their hearing peers. This suggests that once deaf people obtain employment,




3
 See Sutton v. United Air Lines, Inc. 527 US 471 (1999), Murphy v. United Parcel Service, Inc. 527 US 516 (1999),
Sprague v. United Air Lines Civil Action No. 97-12102-GAO (D. Mass. Aug. 7, 2002)

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they are just as likely to work full time as their hearing peers.” 4

           14. The basis for passing the Americans with Disabilities Act was because

Congress found that physical or mental disabilities do not “diminish a person's right to

fully participate in all aspects of society, yet many people with physical or mental

disabilities have been precluded from doing so because of discrimination; others who

have a record of a disability or are regarded as having a disability also have been

subjected to discrimination” and that historically, society has tended to isolate and

segregate individuals with disabilities, and, despite some improvements, such forms of

discrimination against individuals with disabilities continue to be a serious and pervasive

social problem.” 42 U.S.C. § 12101(a)(1-2)

           15. As a result, “discrimination against individuals with disabilities persists in such

critical     areas    as    employment,        housing,      public     accommodations,           education,

transportation, communication, recreation, institutionalization, health services, voting,

and access to public services” and “that unlike individuals who have experienced

discrimination on the basis of race, color, sex, national origin, religion, or age,

individuals who have experienced discrimination on the basis of disability have often

had no legal recourse to redress such discrimination” 42 U.S.C. § 12101(a)(3-4)

           16. Thus, “individuals with disabilities continually encounter various forms of

discrimination, including outright intentional exclusion, the discriminatory effects of

architectural, transportation, and communication barriers, overprotective rules and

4
 Garberoglio, C.L., Cawthon, S., & Bond, M. (2016). Deaf People and Employment in the United States: 2016.
Washington, DC: U.S. Department of Education, Office of Special Education Programs, National Deaf Center on
Postsecondary Outcomes.
https://www.nationaldeafcenter.org/sites/default/files/resources/Deaf%20Employment%20Report_final.pdf.
Accessed on April 12, 2018.

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policies, failure to make modifications to existing facilities and practices, exclusionary

qualification standards and criteria, segregation, and relegation to lesser services,

programs, activities, benefits, jobs, or other opportunities” and that “census data,

national polls, and other studies have documented that people with disabilities, as a

group, occupy an inferior status in our society, and are severely disadvantaged socially,

vocationally, economically, and educationally.” 42 U.S.C. § 12101(a)(5-6)

      17. Based on the above facts, Congress saw that the “Nation's proper goals

regarding individuals with disabilities are to assure equality of opportunity, full

participation, independent living, and economic self-sufficiency for such individuals” and

“the continuing existence of unfair and unnecessary discrimination and prejudice denies

people with disabilities the opportunity to compete on an equal basis and to pursue

those opportunities for which our free society is justifiably famous, and costs the United

States billions of dollars in unnecessary expenses resulting from dependency and

nonproductivity.” 42 U.S.C. § 12101(a)(5-6)

                                 JURISDICTION AND VENUE

      18.    This action arises under the law of the United States, including Title I of

the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“ADA”), The Court has

jurisdiction over this action under 28 U.S.C. § 1331 and 28 U.S.C. 1343(a)(3), as well as

42 U.S.C. § 12188(a) and 29 U.S.C. § 794a and 42 U.S.C. § 1983 for claims arising

under color of law.

      19.    Venue of this action is appropriate in the United States District Court for

the District of Utah, Central Division, pursuant to 28 U.S.C. § 1391(b) and (c) as the

claim arose in such district and, further, as the Defendant(s) conduct business in such

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district.

        20. This Court also has jurisdiction over Mr. Diganci’s state law claims set forth in

this complaint pursuant to its supplemental jurisdiction to hear state law claims under 28

U.S.C. § 1367(a). Both the federal and state claims alleged herein arose under a

common nucleus of operative facts, the state action is so related to the federal claim

that they form part of the same case or controversy, and the actions would ordinarily be

expected to be tried in one judicial proceeding.

                            PROCEDURAL REQUIREMENTS

        21. Mr. Diganci filed a timely Charge of Discrimination with the Equal

Employment Opportunity Commission (EEOC) on December 8th, 2022, in which he

alleged the statutory violations asserted herein. (See Exhibit # 1).

        22. The EEOC issued a Dismissal and Notice of Rights on February 6, 2023, it

informed the Plaintiff that “he may file a lawsuit against the Respondent(s) under the

federal law based on this charge in federal or state court” and that the “lawsuit must be

filed within 90 days of your receipt of this notice.” (See Exhibit #2). The Plaintiff received

the notice on February 6th, 2023 via electronic notification from the EEOC.

        23. SALVATORE DIGANCI has filed this complaint before the 90-day deadline

since the Notice of Rights was emailed to the Plaintiff and/or his attorney on February 6,

2023. The 90 day deadline is May 7th, 2023. .

                                       THE PARTIES

        24.    SALVATORE DIGANCI, the Plaintiff, is an individual who is Deaf and

communicates via American Sign Language.

        25. USA RAIL LOGISTICS LLC is a company involved in the railroad industry

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and has several locations across the United States. One of its offices is located at 2765

South 850 West, South Salt Lake, Utah. 84119. Its corporate headquarters is located at

403 South Jim Wright Freeway #185 Fort Worth, Texas 76108. The mailing address for

management for the Defendant(s) is PO Box 150340 Fort Worth, Texas 76108 USA.

There is an alternative address for the Defendant(s) is 403 South Jim Wright Freeway

#105, Fort Worth, TX 76108.

        26. United Specialty Automotive LLC is a Specialized Freight Trucking company.

One of its offices is located at 2765 South 850 West, South Salt Lake, Utah. 84119. Its

corporate headquarters is located at 403 South Jim Wright Freeway #185 Fort Worth,

Texas 76108. The mailing address for management for the Defendant(s) is PO Box

150340 Fort Worth, Texas 76108 USA. There is an alternative address for the

Defendant(s) is 403 South Jim Wright Freeway #105, Fort Worth, TX 76108.

                                                FACTS

        27. The Plaintiff applied for the position of Rail Loader posted on Indeed.com 5

(See Exhibit #3) on May 31st, 2022.




5
 “RAIL UNLOADER-USA RAIL, SALT LAKE CITY” Indeed.com
https://www.indeed.com/viewjob?t=rail+unloader+usa+rail+salt+lake+city&jk=8fe26354b9b83440&vjs=3.
Accessed on April 17, 2023

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      28. A recruiter for Defendant USA Rail Logistics LLC, Lenora Winslett, contacted

the Plaintiff to schedule an intake interview for May 31, 2022, to see if he could do an

interview at 10 AM on Friday June 3rd, 2022. (See Exhibit #4).




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       29. The Plaintiff and Ms. Winslett quickly agreed to talk by text message and the

Plaintiff requested to the interview by Zoom and that they provide an ASL interpreter for

the job interview. (See Exhibit #5 and #6 below). During that text discussion, Ms.

Winslett, the recruiter, told the Plaintiff that they needed to hire someone within three

days but that they would need to reschedule the interview in order to find an ASL

interpreter.
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      30. The Plaintiff did not hear back from the Defendant followed up with Ms. Ms.

Winslett on June 7th, 2023, who informed the Plaintiff that they had hired someone on

June 2nd, 2022. (See Exhibit #7).




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        31. However, the Defendant continued solicit applications for the position of Rail

Unloader online. 6 (See Exhibit #8).




                                     FIRST CAUSE OF ACTION

            AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12111 et seq.
                            (Against Defendant(s))

        32. Plaintiff incorporates by reference the allegations of paragraphs 1 through 31

above.

        33. Plaintiff is an individual with a disability because he is substantially limited in


6
 “RAIL UNLOADER-USA RAIL, SALT LAKE CITY.” Salary.com. https://www.salary.com/job/usa-rail/rail-unloader-usa-
rail-salt-lake-city/j202202082133310842494. Posted on February 10, 2022. Accessed on April 17th, 2023.

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the major life activities of, hearing, speaking, and communicating. See 42 U.S.C. §

12102 (2)(A).

        34. At all times relevant, Mr. Diganci was able to perform the essential functions

of a Rail Unloader and was qualified to work as an employee for the Defendant(s).

        35. Defendant(s) USA Rail Logistics LLC and/or United Specialty Automotive

LLC are employers within the meaning of the act. Upon information and belief, the

Defendant(s) have more than fifteen (15) employees.

        36. The Defendant(s) subjected the Plaintiff to disparate treatment and failed to

provide reasonable accommodation for his disability by not providing effective

communication with the Plaintiff as a reasonable accommodation request made by the

Plaintiff.

        37. The Plaintiff was discriminated by reason of his disability of being Deaf and

suffered adverse employment action when the Defendant(s) disregarded his reasonable

accommodation request for an ASL interpreter for a job interview.

        38. The Defendant(s) cannot discriminate against the Plaintiff on the basis of

unfounded fears or generalizations about individuals who are Deaf. An employer cannot

discriminate against an individual with a disability because of a slightly increased risk or

because of fears that there might be a significant risk sometime in the future. Any

determination about the disabled employee must be individualized to the disabled

employee and not generalized to the disability that the potential employee has.

        39. Defendant(s) engaged in intentional discrimination, with malice, reckless

indifference, and deliberate indifference.

        40. The Plaintiff was injured as the result of Defendant(s)’s conduct. He

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experienced severe emotional distress, a loss of income because he was denied

employment on the basis of his disability, had to spend extra time and money to find

employment elsewhere, was forced to hire an attorney to seek a resolution in this

matter, as well as and other damages.

       41. The Plaintiffs have been forced to engage the services of an attorney.

Therefore, he is entitled to an award of the attorney’s fees and costs.

                                           RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court provide the

following relief, inter alia, as permitted by law:

       (a) A declaration that Defendant(s)’s policies, procedures, and practices

have subjected Plaintiff to discrimination in violation of Title I of the Americans with

Disabilities Act;

       (b) Compensatory damages;

       (c) Equitable relief;

       (d) Punitive damages;

       (e) Reasonable attorneys’ fees and costs;

       (f) All other necessary and appropriate relief at law and equity deemed

appropriate by the Court.

                                       JURY DEMAND

       Plaintiff through his undersigned attorneys, hereby demands a trial by jury on all

issues so triable pursuant to Federal Rule of Civil Procedure 38.




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DATED this this 7th day of September 2023.

/s/: Jared Allebest

Jared Allebest,
#13485 (UT), #034640 (AZ), #325086 (CA)
Allebest Law Group
Attorney for Plaintiffs




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                       ATTORNEY CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2023, I have made service of the foregoing
on the party/ies listed below via Certified First Class Mail and/or Electronically via USDC
CM/ECF system.

Michael Judd
Attorney for the Defendant(s)
Parsons Behle & Latimer
201 South Main Street #1800
 Salt Lake City, UT 84111

DATED this 7th day of September 2023.

/s/ Jared Allebest
Allebest Law Group PLLC
Attorney for Plaintiff




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                   Exhibit #1




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